Case 2:14-md-02591-JWL-JPO Document 3507-25 Filed 03/12/18 Page 1 of 3




               EXHIBIT C
   Case 2:14-md-02591-JWL-JPO Document 3507-25 Filed 03/12/18 Page 2 of 3




Firm Overview

With offices in New Jersey and Philadelphia, Seeger Weiss is one of the preeminent trial law firms in the
nation, known for its high-stakes, landmark verdicts and settlements in multidistrict mass tort and class
action litigation on behalf of consumers, athletes, farmers, municipalities, and other injured parties.
Since its founding in 1999, the firm has led and tried some of the most complex and high-profile
litigations in the U.S. in both state and federal courts, including multiple bellwether trials.

Professionals

Managing Partners: Christopher A. Seeger, Stephen A. Weiss, David R. Buchanan

Number of partners: 8

Number of lawyers: 23

Languages: English, Hindi, Korean, Russian, Spanish, Urdu

Representative Matters

Consumer Protection/Product Liability:

       In re Nat’l Prescription Opiate Litig.: Plaintiffs’ Executive Committee prosecuting negligence,
        fraud, and related claims.
       In re FieldTurf Artificial Turf Mktg. & Sales Litig.: Co-Lead Counsel prosecuting fraud, product
        defect and related claims.
       In re Mercedes-Benz Emissions Litig.: Co-Counsel prosecuting class action alleging consumer
        fraud, RICO, and related claims.
       Gamboa v. Ford Motor Co.: Co-Counsel prosecuting class action alleging consumer fraud, RICO,
        and related claims.
       Fenner v. General Motors Co.: Co-Counsel prosecuting class action alleging consumer fraud,
        RICO, and related claims.
       Volkswagen “Clean Diesel” Marketing, Sales Practices and Prods. Liab. Litig.: Steering
        Committee. Over $20 billion settlement on behalf of over 500,000 plaintiffs.
       Depuy Orthopaedics, Inc. ASR Hip Implant Prods. Multidistrict Litig.: Executive Committee. $2.5
        billion settlement.
       Chinese-Manufactured Drywall Prods. Liab. Litig.: Lead trial counsel & Trial Committee chair.
        Over $1 billion settlement on behalf of nearly 5,000 plaintiffs.

Personal Injury:

       NFL Players’ Concussion Injury Litig.: Co-lead counsel & chief negotiator. Over $1 billion
        uncapped settlement fund plus medical testing program on behalf of over 20,000 plaintiffs.
   Case 2:14-md-02591-JWL-JPO Document 3507-25 Filed 03/12/18 Page 3 of 3




         Wildcats Bus Crash Litig.: Lead counsel. $2.25 million verdict followed by $36 million settlement
          on behalf of 11 plaintiffs.

Drug Injury:

         Vioxx Prods. Liab. Litig.: Co-lead counsel. $4.85 billion global settlement on behalf of more than
          45,000 plaintiffs in approximately 27,000 claims.
         Zyprexa Prods. Liab. Litig.: Liaison counsel. $700 million first-round settlement and $500 million
          second-round settlement.
         Kendall v. Hoffman-La Roche, Inc.: Co-trial counsel. $10.6 million verdict on behalf of plaintiff.
         McCarrell v. Hoffman-La Roche, Inc.: Liaison counsel. $25.16 million verdict on behalf of plaintiff.
         Rossitto & Wilkinson v. Hoffmann La Roche, Inc.: Lead trial counsel. $18 million verdict on behalf
          of two plaintiffs.
         Accutane Litigation: Lead trial counsel. $25.5 million verdict on behalf of plaintiff.
         Humeston v. Merck & Co.: Co-trial counsel. $47.5 million verdict on behalf of plaintiff.
         Vytorin/Zetia Marketing, Sales Practices and Prods. Liab. Litig.: Co-liaison counsel & principal
          negotiator. $41.5 million settlement.
         Phenylpropanolamine (PPA) Prods. Liab. Litig.: Co-lead counsel & principal negotiator. $41.5
          million nationwide settlement.

Antitrust:

         In re German Automotive Mfrs. Antitrust Litig.: Plaintiffs’ Steering Committee prosecuting
          consumer antitrust claims.
         In re Liquid Aluminum Sulfate Antitrust Litig.: Plaintiffs’ Steering Committee prosecuting
          antitrust class action on behalf of water treatment chemical purchasers.
         In re Polyurethane Foam Antitrust Litig.: Executive Committee. Approximately $428 million
          settlement on behalf of plaintiffs.

Toxic Exposure:

         Bayer CropScience Rice Contamination MDL: Executive Committee. $750 million settlement.
         “StarLink” Corn Products Litig.: Co-lead counsel. $110 million settlement.
         Owens v. ContiGroup Companies: Lead trial counsel. $11 million settlement for 15 plaintiffs.

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